
NicholsoN, C. J.,
delivered tbe opinion of tbe Court.
In 1857 and 1859, tbe intestate of plaintiff in error bought goods of the intestate of defendant in error, to the amount of seventy-three dollars and eighty-five cents.
On tbe 5th of October, 1863, letters of administration were granted to tbe plaintiff in error. On tbe 12th of June, 1869, suit was commenced before a Justice of tbe Peace, by defendant in error, on tbe account on which there was judgment for the plaintiff below, and appeal to the .Circuit Court. Tbe case was submitted to the circuit judge, without a jury. Tbe only question being, whether the account was barred by the act of limitation of two years, the circuit judge held that it was not barred, and gave judgment for the plaintiff below, from which defendant below appealed to this Court.
Plaintiff in error was appointed administrator on the 5th of October, 1868. The statute of limitation commenced running on the 5th of April, 1864, Maynard v. May, 2 Col., 44. By the Act of 1865, c. 10, the' statutes of limitation were suspended from the 6th of May, 1861, until the 1st of January, 1867. Hence, the bar of the statute only commenced on the 1st of January, 1867, and became complete on the 1st day of January, 1869. The statute suspending the running of the statute of limitation, did not interfere with the right to *260sue at any time' after the courts were open, at the close of the war.
It follows, that when this suit was brought on the 12th of June, 1869, the bar was complete. The judgment below will be reversed, and judgment given here for plaintiff in error.
